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               IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF GEORGIA
                         ALBANY DIVISION

TERAMORE DEVELOPMENT,                       )
LLC, et al.                                 )
     Petitioners,                           )
                                            )      CIVIL ACTION FILE NO.
v.                                          )      1:20-cv-00263-LAG
                                            )
CITY OF AMERICUS CITY, et al.               )
                                            )
       Defendants.                          )
                                            )


       PETITIONERS’ REPLY TO DEFENDANTS’ RESPONSE TO
        PETITIONERS’ NOTICE OF ADDITIONAL AUTHORITY


      Come now Petitioners Teramore Development, LLC, Spring Hill Land Trust,

Perry Brothers Oil Company, Inc. and HVJSR, LLC (collectively “Petitioners”) and

reply to Defendants’ Response to Petitioners’ Notice of Additional Authority

(“Response”) [Doc 37] as follows:

                           I.       INTRODUCTION

      On August 19, 2021, Petitioners provided notice to this Court of the Georgia

Supreme Court’s recent decision in IDI Logistics, LLC v. City of Douglasville, --

Ga. --, -- S.E.2d --, 2021 WL 3613668 (Supreme Court Docket #S21D1267 Aug. 16,

2021) (“Notice”) [Doc. 36]. In providing notice of the IDI Logistics decision,




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Petitioners did not argue the specific application of the decision in this case. Rather,

after briefly summarizing the case, Petitioners merely advised this Court as follows:

      Because Chief Justice Nahmias and Justice Warren, sua sponte, raised
      the issue of whether certiorari was/is the proper method for challenging
      a zoning denial under Georgia law, such statements are manifestly
      relevant to this Court’s consideration of Petitioners’ Motion to Dismiss.

(Notice, p. 2.) In short, Petitioners simply noted that an issue relevant to Defendants’

Motion to Dismiss in this case (to wit: the proper method for challenging the denial

of a rezoning application) was also implicated in the cited new authority.

      In their Response, without disputing that the proper method for challenging

the denial of a rezoning application was implicated in both this case and in IDI

Logistics, Defendants opted to provide additional argument in support of their

Motion to Dismiss.1 In an abundance of caution, and in order to clarify several

misleading statements by Defendants, Petitioners submit this short Reply in order to

ensure accurate consideration of the new authority.

                                II.    ARGUMENT

      In their Response, Defendants argue that “neither the majority of the Georgia

Supreme Court, nor the two concurring Justices, adopted Petitioners’ argument

herein that zoning decisions are always legislative.” (Response, p. 1.) Defendants’

statement is deceptive at best insofar as no argument was “adopted” by any members


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       Petitioners note that Defendants did not seek permission to file additional
briefing. (See Local Rule 7.3.1(C).)
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of the Court in IDI Logistics, because the issue in question (the proper method of

appeal of a rezoning denial) was not presented to the Court for consideration.

Petitioners have not suggested otherwise. However, the fact that Chief Justice

Nahmias and Justice Warren, nevertheless, went out of their way to issue a

concurring opinion addressing an issue that the parties and the Superior Court failed

to address, strongly suggests that at least two Justices of the Supreme Court have

concerns that the assumptions of the parties and the Superior Court (notably that

certiorari was the proper avenue to appeal a rezoning decision) may have been

erroneous. Of course, as the Justices recognize, because the issue was not raised,

they could not “adopt an argument” on the issue.

      Perhaps recognizing the position the two Justices may be signaling they might

take on this issue (that certiorari is not the appropriate avenue of appeal for a

rezoning denial), Defendants attempt to walk back their own position on the issue in

this case, stating that “Defendants have never argued that challenges to zoning

decisions can only be brought via certiorari.” (Response, p. 1.) With all due respect,

this statement wholly misses the point of both the concurrence in IDI Logistics and

the underlying arguments in this case. In their concurrence, Justices Nahmias and

Warren did not address their comments to all zoning decisions, but instead, only to

“a party challenging the denial of a rezoning application” – in other words, an

“individualized zoning decision.”     In Defendants’ Reply Brief in Support of


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Consolidated Motion to Dismiss (“Reply Brief”) [Doc. 33], Defendants state, “The

language in Flowers demonstrates the new approach and shows that the Georgia

Supreme Court now views individualized zoning decisions as quasi-judicial.”

(Reply Brief, p. 3.) Although Defendants’ statement was limited to “individualized

zoning decisions” as opposed to “all” zoning decisions, such a distinction would

then be directly in line with the IDI Logistics concurrences’ comment. As such,

Defendants have asserted that all rezoning application denials are quasi-judicial and

subject to appeal by certiorari to the Superior Court. Chief Justice Nahmias and

Justice Warren clearly are not convinced of this position.

      Petitioners also note that Defendants’ comment that Chief Justice Nahmias

and Justice Warren cited to “pre-Flowers case law” (Response, p. 1) without

providing further explanation is misleading. In fact, reference to “pre-Flowers case

law” in the IDI Logistics concurrence was to suggest that the “pre-Flowers case law”

would be at odds with Flowers and Diversified Holdings, LLP v. City of Suwanee,

302 Ga. 597 (2017), if Flowers and Diversified were deemed to establish that the

proper avenue of appeal to the Superior Court for the denial of a rezoning application

was by way of certiorari. The two concurring Justices indicate that they are “less

certain” that such a reading of Flowers and Diversified is accurate. IDI Logistics, -

- S.E.2d --, 2021 WL 3613668, *2.




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      Defendants’ assertion that they “have pointed to all the post-Flowers case law

showing that it is the nature of the decision below that determines whether a zoning

decision is quasi-judicial” is, again, misleading.     In Defendants’ Reply Brief,

Defendants point to only one case that involved the denial of a rezoning application

-- Diversified. As is discussed in greater detail in Petitioners’ Brief in Response to

Defendants’ Motion to Dismiss [Doc. 32], the Georgia Supreme Court’s analysis in

Diversified was limited to the proper method of appeal from the Superior Court, not

to the Superior Court. Clearly, Chief Justice Nahmias and Justice Warren are also

not convinced that Diversified should be applied to appeals to the Superior Court.

In fact, Justices Nahmias and Warren expressly note in their parenthetical describing

the holding in Diversified, that the holding involved “whether discretionary

applications under O.C.G.A. § 5-6-35(a)(1) must be filed instead of notice of appeal

under O.C.G.A. § 5-6-34(a)(1).” IDI Logistics, -- S.E.2d --, 2021 WL 3613668, *2.

As such, Justices Nahmias and Warren recognize that Diversified is limited to the

proper procedure for appeal from the Superior Court.2



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       Oddly, Defendants assert that “the two Justices … interpreted the Diversified
Holdings decision as Defendants have interpreted it.” (Response, p. 2). At best, one
can say that Defendants have assiduously avoided this topic. Certainly, Defendants
have not previously recognized any such limitation on the application of Diversified
to appeals from the Superior Court. Nevertheless, Petitioners welcome Defendants’
clarification with respect to their agreement with the Concurrence’s characterization
of the holding in Diversified.

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      Finally, Defendants note the quality of the counsel involved in IDI Logistics

and suggest that both they and the Superior Court “took it as a given that the proper

was to challenge the City’s rezoning denial was via certiorari.” IDI Logistics, --

S.E.2d --, 2021 WL 3613668, *2. This statement appears to be an exaggeration of

the positions taken in the underlying matter. In their concurrence, Chief Justice

Nahmias and Justice Warren merely noted that “IDI does not dispute, as part of this

discretionary application, that O.C.G.A. § 5-4-1 et seq. was the correct procedural

mechanism.” Id., at 1. “Does not dispute” is not the same as “takes it as a given.”

Merely because the issue was not raised in the application for discretionary appeal

does not mean that it was “taken as a given” that certiorari was proper. The applicant

simply opted (for whatever reason) to address other issues on appeal.               The

applicant’s reason for doing so is nothing more than speculation by Defendants.

                                III.   CONCLUSION

      In short, although Petitioners recognize that a concurrence with respect to the

decision to deny an application for discretionary appeal is not binding with respect

to the same issue in this case, it is nevertheless notable given the rare decision of the

Chief Justice and Justice Warren to utilize the Supreme Court’s denial of an

application for discretionary appeal as an opportunity to question the precise issue

that has been raised in this case. As such, the decision is worthy of this Court’s

notice and consideration with respect to Defendants’ Motion to Dismiss.


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        Respectfully submitted, this 4th day of October, 2021.

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                         CERTIFICATE OF SERVICE

      I hereby certify that pursuant to LR 5 (M.D.Ga.), I have this day served a copy

of the within and foregoing PETITIONERS’ REPLY TO DEFENDANTS’

RESPONSE TO PETITIONERS’ NOTICE OF ADDITIONAL AUTHORITY

upon all parties to this matter by emailing a copy of same to counsel of record listed

below and by electronically filing a copy of same with the Clerk of Court via the

Court’s CM/ECF system, which will automatically send email notice of same to the

following attorneys of record:

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     This 4th day of October, 2021.
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